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                  EXHIBIT W
                                                                                           Allocation Analysis for 2022 (TAF)
                                                                                        WY 2022 based on December WSI forecast
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                                                                            2021                                                                                             2022                                                                         Total    Possible
                                                                            Dec               Jan           Feb                Mar           Apr          May               Jun           Jul         Aug         Sep           Oct       Nov     Dec    (MAF)    Table A %
50% Exceedence Moderate OMR                                                                                           D                   SRI = 16.7                   SVI = 6.5                                              Possible 2022 Table A =    2.425      58%
Oroville EOM Storage                                                        1359          1752            2226               2736          3077         3247            3253         2685          2143          1820        1714        1658    1673
Feather R. release (avg. cfs)                                               1200           960              950                800         1210         1070            1060         9340          9380          6760        2370        1760    1760      -
SWP Banks PP exports                                                         76                79             78                84            40              40            15        408             409         395          150        312     265    2.275
Potential South of Delta Art. 21 Water Avail.                                 0                 0                 0               0            0              0              0             0             0           0               0     0        0    0.000
SWP San Luis EOM Storage                                                     517           545              541                519          441           328            101          190             299         465          383        516     609      -
SWP Contractor Deliveries                                                    54                65             79                84          106           138            228          304             286         222          230        182     182    2.106
75% Exceedence Moderate OMR                                                                                           C                   SRI = 12.6                   SVI = 5.1                                              Possible 2022 Table A =    1.076      26%
Oroville EOM Storage                                                        1359          1595            1916               2273          2465         2513            2447         2116          1810          1600        1504        1381    1317
Feather R. release (avg. cfs)                                               1200           940              950                800         1060         1070            1060         4640          4640          4490        1250        1240    1250      -
SWP Banks PP exports                                                         76                84             86                80            16              15            14        157             132         212            17        53      60    0.926
Potential South of Delta Art. 21 Water Avail.                                 0                 0                 0               0            0              0              0             0             0           0               0     0        0    0.000
SWP San Luis EOM Storage                                                     517           562              591                588          509           416            305          346             366         491          404        381     358      -
SWP Contractor Deliveries                                                    54                52             54                59            83              90         110              99           97            79        101         79      93    0.998
90% Exceedence Moderate OMR                                                                                           C                   SRI = 9.9                    SVI = 4.3                                               Possible 2022 Table A =   0.556      13%
Oroville EOM Storage                                                        1359          1530            1734               1995          2137         2178            2021         1743          1511          1469        1379        1240    1194
Feather R. release (avg. cfs)                                               1200           940              950                810         1000           810           2500         3880          4130          2070        1770        1490     960      -
SWP Banks PP exports                                                         76                78             75                79            16              40            14            16           17            16          17        18     113    0.499
Potential South of Delta Art. 21 Water Avail.                                 0                 0                 0               0            0              0              0             0             0           0               0     0        0    0.000
SWP San Luis EOM Storage                                                     517           566              618                655          522           402            263          198             150         132          117        118     225      -
SWP Contractor Deliveries                                                    54                40             20                18          135           141            137              65           49            26          28        20      16    0.695
                                                                                         Assumptions for 2022 Allocation Analysis
Notes:
   • SWPAO's intial delivery files: 60% for the 50% Moderate study; 30% for the 75% Moderate study; and 5% for the 90% Moderate study.
   • The 90% studies reflect a 50% FRSA delivery pattern; 75% and 50% study reflects a 100% FRSA delivery pattern.
   • When Biological Opinions' (BiOp) impacts occur at the export facilities, SWP and CVP will share the available water supply accordingly under the revised COA Article 10(i).
Estimated Delivery in Details                                         (1)                      (2)                               (3)                    (1+2)                        (1+3)                    (1+2+3)
                                                             '22 Table A          '22-'23 ANTCO                   '22 CO & Others            2022 Allocation                 2022 Delivery       Total Water Available for '22
      50% Exceedence Moderate OMR                             1.984 maf               0.441 maf                       0.122 maf                    2.425 maf                     2.106 maf                   2.547 maf

      75% Exceedence Moderate OMR                             0.860 maf               0.217 maf                       0.138 maf                    1.076 maf                     0.998 maf                   1.215 maf

      90% Exceedence Moderate OMR                             0.548 maf               0.008 maf                       0.147 maf                    0.556 maf                     0.695 maf                   0.703 maf

Reservoir Targets
     • Lake Oroville storage target = 1.600 MAF
      Exceedence                                              Possible Table A                  Storage Target
      50% Exceedence Moderate OMR                                     58%                            1.600 MAF
      75% Exceedence Moderate OMR                                     26%                            1.600 MAF
      90% Exceedence Moderate OMR                                     13%                            1.600 MAF

    • SWP San Luis storage targets for 2022
                          Exceedence                    Deadpool =          Total
                             All                             42 taf         42 taf


      >>>>> for the 50% OMR study                                                       ANTCO, Unscheduled CO
                                                        Deadpool                          & Backed up Water                                            Required Storage
                             Oct-22                      42 taf                                189 taf                                      231 >>> 1/3   of '22-'23 ANTCO is available in Oct. '22
                             Nov-22                      42 taf                                378 taf                                      420 >>> 2/3   of '22-'23 ANTCO is available in Nov. '22
                             Dec-22                      42 taf                                567 taf                                      609 >>> 100% of '22-'23 ANTCO is available in Dec. '22

      >>>>> for the 75% OMR study                                                       ANTCO, Unscheduled CO
                                                        Deadpool                          & Backed up Water                                            Required Storage
                             Oct-22                      42 taf                                105 taf                                      147 >>> 1/3   of '22-'23 ANTCO is available in Oct. '22
                             Nov-22                      42 taf                                211 taf                                      253 >>> 2/3   of '22-'23 ANTCO is available in Nov. '22
                             Dec-22                      42 taf                                316 taf                                      358 >>> 100% of '22-'23 ANTCO is available in Dec. '22

      >>>>> for the 90% OMR study                                                       ANTCO, Unscheduled CO
                                                        Deadpool                          & Backed up Water                                            Required Storage
                             Oct-22                      42 taf                                 38 taf                                       80 >>> 1/3   of '22-'23 ANTCO is available in Oct. '22
                             Nov-22                      42 taf                                 76 taf                                      118 >>> 2/3   of '22-'23 ANTCO is available in Nov. '22
                             Dec-22                      42 taf                                114 taf                                      156 >>> 100% of '22-'23 ANTCO is available in Dec. '22



                           2019 NOAA Fisheries and USFWS Biological Opinions / 2020 DFW Incidental Take Permit Regulatory Requirements
                                                                                    OMR Management
                              (Targets assumed in accordance with the 2019 NOAA (NMFS) and USFWS Biological Opinions; and the 2020 DFW Incidental Take Permit)

                                           Most             Moderate                   Least
                             January      -1250              -2500                     -5000
                            February      -1250              -2500                     -5000
                              March       -1250              -2500                     -5000
                                April*   SJI Critical WY 1:1 , Dry WY 2:1, BN WY 3:1, AN/W WY 4:1

                            May*         SJI Critical WY 1:1 , Dry WY 2:1, BN WY 3:1, AN/W WY 4:1
                            June           -1250             -2500                 -5000
                   December 1-17           -2000
                                                             -2000                 -2000
                  December 18-31           -2000
       In accordance with the 2020 DFW Incidental Take Permit and 2019 NMFS/USFWS BiOp

                                                                                               Summer ‐ Fall Action Plan (Delta Smelt Habitat)
                              Suisun Marsh Salinity Gate Operation                                                                          Fall X2
                                                                            Below                                                                                                               Above
                                           Wet         Above Normal                     Dry*           Critical                                                                     Wet
                                                                            Normal                                                                                                              Normal
                    Jun                                                                                                                                               Sep
                                                                                                                                                                                    Fall X2 < 80 KM
                    Jul                                                                                                                                               Oct
                                                             SMSCG          SMSCG     SMSCG*
                    Aug                   SMSCG
                    Sep
                    Oct
       * SMSCG operations: Following wet/above normal years, assumed July and Aug (60 days); following below normal years, assumed July (30 days)

                                                                                                          Delta Outflow Blocks
                                                                                          (Includes Spring Outflow up to 150 TAF and 100 TAF)
                                                                            Below                                                                                                 Above         Below
                                           Wet         Above Normal                     Dry            Critical                                                       Wet                                      Dry        Critical
                                                                            Normal                                                                                                Normal        Normal
                    Apr                                                                                                                               Mar
                                                       Spring Outflow Block
                    May                                                                                                                               Apr
                                                                                                                                                                   ‐Spring Outflow to be used in the following year
                    Jun                                                                                                                               May
                                                                                                                                                                            (subject to spill from Oroville)
                    Jul                                                                                                                               Jun
                                                                                                                                                                   ‐100 TAF can be stored and used in the following
                    Aug                           100 TAF                                                                                             Jul
                                                                                                                                                                          year (subject to spill from Oroville)
                    Sep                                                                                                                               Aug
                    Oct                                                                                                                               Sep
                                                                                                                                                      Oct




                                                                                                                          Provisional - Subject to Revision
                                                                                                                                                                                                                                                                              1/6/2022
